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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


SADIE HILL MURPHY,                       :
                                         :
      Plaintiff,                         :
                                         :
      v.                                 :        CIVIL ACTION NO.
                                         :        1:17-CV-00418-AT
CITIMORTGAGE, INC. and                   :
BAYVIEW LOAN SERVICING, LLC,             :
                                         :
      Defendants.                        :

                                     ORDER

      This foreclosure-related matter is before the Court on Defendant

CitiMortgage, Inc.’s (“CitiMortgage”) Motion to Dismiss [Doc. 13] and Defendant

Bayview Loan Servicing, LLC’s (“Bayview”) Motion to Dismiss [Doc. 14]. In her

Complaint, Plaintiff Sadie Hill Murphy alleges that Defendants failed to properly

account for her loan payments on a particular property, the Welbron House, and

then intentionally and erroneously initiated foreclosure proceedings on the

property. She alleges that Defendants’ actions caused her to file for bankruptcy

to save the Welbron House and then caused her additional economic and

emotional harm by virtue of the bankruptcy and its impact. Plaintiff brings a

breach of contract claim, a negligence claim, and a tortious interference with

property rights claim against Defendants.         Defendants counter that the

Complaint must be dismissed because (1) the claims are barred by Georgia’s
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respective statutes of limitations and (2) the Complaint fails to state a claim for

relief.

I.        LEGAL STANDARD

          This Court may dismiss a pleading for “failure to state a claim upon which

relief can be granted.” FED. R. CIV. P. 12(b)(6). A pleading fails to state a claim

if it does not contain allegations that support recovery under any recognizable

legal theory. 5 CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE &

PROCEDURE § 1216 (3d ed. 2002); see also Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). In considering a Rule 12(b)(6) motion, the Court construes the pleading

in the nonmovant’s favor, and accepts the allegations of facts therein as true. See

Duke v. Cleland, 5 F.3d 1399, 1402 (11th Cir. 1993). The pleader need not have

provided “detailed factual allegations” to survive dismissal, but the “obligation to

provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). In essence,

the pleading “must contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting

Twombly, 550 U.S. at 570).

II.       BACKGROUND1

          Plaintiff is a “100% disabled veteran of the U.S. Army.” (Complaint, Doc. 1

¶ 6.) Following her discharge from the military due to a service-related disability,

1This background section summarizes the factual allegations in Plaintiff’s Complaint, which the
Court construes in Plaintiff’s favor consistent with the standard discussed above.


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she worked in the Veterans Administration for a time and then began helping

veterans attain housing on her own. In 2007, Plaintiff purchased a property

located at 4208 Welbron Drive, Decatur, Georgia 30035 (the “Welbron House”)

to house veterans in need of shelter. Plaintiff originally took out a mortgage on

the Welbron House with Bayrock, a lender that is not a party to this case. She

pre-paid her first two payments for October and November 2007 to Bayrock

before she went to the hospital for service-related injuries.      Bayrock then

transferred the loan to CitiMortgage, and at some unspecified time, Bayview

became the servicer for this loan. (Id. ¶¶ 7-12.)

      Plaintiff alleges that around the time of the loan transfer to CitiMortgage,

Bayrock “negotiated the check” regarding Plaintiff’s two pre-paid payments. (Id.

¶ 12.) According to Plaintiff, CitiMortgage failed to account for these two pre-

paid payments and therefore erroneously considered Plaintiff to be in arrears.

(Id. ¶¶ 12-13.) Plaintiff tried to correct this mistake with CitiMortgage and “her

loan servicers” for approximately eighteen months following the loan transfer.

(Id. ¶¶ 14-15.) On October 19, 2009, CitiMortgage “sent men to the property to

break in and change the locks on the Welbron House.” (Id. ¶ 16.) Plaintiff alleges

that these actions caused her to file for bankruptcy to “halt the attempted

wrongful foreclosure of her home.” (Id. ¶ 18.)

      On December 23, 2009, Plaintiff filed a Chapter 7 bankruptcy petition.




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(CitiMortgage Motion to Dismiss, Doc. 13-2, Ex. A.)2 The bankruptcy court later

converted her petition to a Chapter 13 case and confirmed the Chapter 13 plan on

March 21, 2011. (Complaint, Doc. 1 ¶ 19; Bayview Motion to Dismiss, Doc. 14-2,

Ex. A.) Over the course of the bankruptcy case, Plaintiff paid over $87,000 into

the Chapter 13 plan. (Complaint, Doc. 1 ¶ 20.) Plaintiff obtained a discharge on

August 3, 2015, and the bankruptcy court closed the case on August 14, 2016.3

(Bayview Motion to Dismiss, Doc. 14-2, Ex. A.) Although not entirely clear from

the pleadings, it appears that Plaintiff was able to keep the Welbron House after

the bankruptcy proceedings.

       In addition to the Welbron House, Plaintiff also owned a property located

at 3060 Kelley Chapel Road, Decatur, Georgia, 30034 (the “Kelley Chapel

House”). Chase Home Mortgage held the mortgage for the Kelley Chapel House.

(Complaint, Doc. 1 ¶ 11.)         Sometime after her bankruptcy proceedings were

terminated, Plaintiff lost the Kelley Chapel House in foreclosure proceedings.

       Plaintiff alleges she was harmed in several ways by Defendants.                        In

particular, she describes the following actions by Defendants as causing her

harm: repeatedly communicating to her about her payment defaults when no

such defaults existed (id. ¶ 51), sending people to break into the Welbron House

2 The Court may consider certain documents outside of a complaint without converting it into
motion for summary judgment, such as public records or documents attached to a motion to
dismiss that are “(1) central to a plaintiff’s claim and (2) undisputed.” Day v. Taylor, 400 F.3d
1272, 1276 (11th Cir. 2005); Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1280 (11th Cir. 1999).
3 The Complaint states that Plaintiff obtained a discharge on August 3, 2016 and the case was

closed on August 14, 2016. (Complaint, Doc. 1 ¶ 21.) However, Bayview attached the docket
report for the bankruptcy case to its Motion to Dismiss, and the docket shows that the respective
dates are actually August 3, 2015 and August 14, 2015. (Bayview Motion to Dismiss, Doc. 14-2,
Ex. A.)


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and change the locks (id. ¶ 16), initiating “wrongful foreclosure” proceedings on

the Welbron House despite her best efforts to make her loan payments (id. ¶¶ 18,

42), and interfering with her property rights by “creat[ing] the situation which

required Plaintiff to file bankruptcy and set into action the foreseeable results of

that bankruptcy” (id. ¶ 46). All of these actions occurred before the bankruptcy

proceedings began in December 2009. Plaintiff alleges that Defendants’ actions

forced her to file for bankruptcy, and because of the bankruptcy, she suffered

additional harm by getting a lower credit score, not being able to obtain new

financing for the Kelley Chapel House or other business ventures, and ultimately

losing the Kelley Chapel House to foreclosure and losing out on other business

opportunities. (Id. ¶¶ 24-39.) She also alleges that she experienced “increased

stress” and “numerous and mounting financial injuries associated with the

damage to her credit score.” (Id. ¶¶ 29, 37.) Based on these allegations, Plaintiff

sued Defendants for breach of contract, negligence, and tortious interference

with her property rights.

III.   DISCUSSION

       Defendants separately move to dismiss the Complaint on both procedural

and substantive grounds. Procedurally, both Defendants argue that the breach of

contract claim is barred by Georgia’s six-year statute of limitations and that the

two tort claims are barred by Georgia’s four-year statute of limitations.

Substantively, Defendants also contend that the Complaint fails to state any claim

for relief.   Defendant CitiMortgage argues that (1) Plaintiff’s contract with


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CitiMortgage precludes her attempt to sue for tort injury; (2) CitiMortgage did

not tortiously interfere with Plaintiff’s property rights; and (3) Plaintiff cannot

recover for emotional distress. Defendant Bayview argues that (1) it did not

maintain a contractual relationship with the Plaintiff and therefore did not

breach a contract; (2) it did not tortiously interfere with Plaintiff’s property

rights; (3) negligent loan servicing is not a cause of action under Georgia law; and

(4) failure to prevail on the merits will make Plaintiff ineligible to claim punitive

damages and attorneys’ fees.           Plaintiff opposes both Defendants’ motions to

dismiss and argues that her claims are neither time-barred nor lacking merit.4

       The Court first considers Defendants’ statute of limitations arguments as

they may be dispositive of the case.

       A. Statute of Limitations for Plaintiff’s Breach of Contract Claim

       Plaintiff alleges that Defendants breached the mortgage contract for the

Welbron House.         In particular, she alleges that the loan documents contain

“express promises and obligations by Defendants to properly account for the

payments paid by the borrower.” (Complaint, Doc. 1 ¶ 41.) Defendants breached
4 Defendant CitiMortgage moved to strike Plaintiff’s Response to the two motions to dismiss as
untimely. (Doc. 17.) Plaintiff opposed CitiMortgage’s motion to strike, and she also filed a
motion for leave to file a sur-reply regarding the motion to strike. (Doc. 24.) Upon review, the
Court DENIES Plaintiff’s motion for leave to file a sur-reply [Doc. 24], as Plaintiff does not
raise new arguments in the motion for sur-reply but simply reiterates the arguments already
contained in her response to CitiMortgage’s motion to strike.
        Turning to CitiMortgage’s motion to strike, it is true that Plaintiff filed her Response
thirteen days after the deadline and without seeking the Court’s leave to do so. Yet Plaintiff is
also correct in pointing out that, technically, a motion to strike a responsive brief is not proper
under Federal Rule of Civil Procedure 12(f), which only applies to striking pleadings. See, e.g.,
Chavez v. Credit Nation Auto Sales, Inc., 966 F. Supp. 2d 1335, 1344 (N.D. Ga. 2013).
Additionally, the Court sees no real prejudice to the parties in considering Plaintiff’s Response,
and indeed, it would be more helpful and efficient to the Court’s resolution of Defendants’
motions to dismiss. The Court therefore DENIES CitiMortgage’s Motion to Strike [Doc. 17].


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these contractual obligations, according to Plaintiff, by “intentionally initiat[ing]

foreclosure proceedings on the Welbron House notwithstanding Plaintiff’s best

efforts to pay her contractual obligations.” (Id. ¶ 42.)

      The mortgage contract that Plaintiff signed for the Welbron House states

that the governing law is “the law of the jurisdiction in which the Property is

located,” which is Georgia law. (CitiMortgage’s Motion to Dismiss, Doc. 20-2 at

14.) Under Georgia law, “[a]ll actions upon simple contracts in writing shall be

brought within six years after the same become due and payable.” O.C.G.A. § 9-

3-24. Accordingly, breach of contract claims must be brought within six years of

the alleged breach, unless the plaintiff can show an applicable exception that

would toll the statute of limitations. See Hamburger v. PFM Capital Mgmt., 649

S.E.2d 779, 782 (Ga. Ct. App. 2007).

      The Parties agree that Georgia’s six-year statute of limitations governs

Plaintiff’s breach of contract claim, but they disagree about when the limitations

period began to run and when the claim accrued. Plaintiff first argues that the

continuing violation doctrine applies to her breach of contract claim. She cites to

federal case law when explaining that “the continuing violation doctrine permits

a plaintiff to sue on an otherwise time-barred claim when additional violations of

the law occur within the statutory period.” (Plaintiff’s Response, Doc. 16 at 4

(citing Robinson v. United States, 327 F. App’x 816, 818 (11th Cir. 2007).) Under

this theory, she alleges that the statute of limitations did not begin to run until

the termination of the mortgage contract for the Welbron House on December 15,


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2014.5 From the time of the contract’s creation on August 21, 2007 through its

termination on December 15, 2014, Plaintiff asserts that Defendants “had a

continuing contractual obligation to properly apply Plaintiff’s payments” and that

they “breached their contractual obligation to properly account for [Plaintiff’s]

payments . . . in a continuous manner.” (Plaintiff’s Response, Doc. 16 at 5-6.)

Thus, Plaintiff concludes that she had to file this case no later than December 15,

2020 (i.e., six years after December 15, 2014), and that she satisfied that

requirement by filing this case on February 3, 2017.

       Plaintiff cites to no Georgia authority for applying the continuing violation

doctrine to a breach of contract claim, and the Court finds no such authority. See,

e.g., Smith v. Sec’y, US Dep’t of Hous. & Urban Dev., 680 F. App’x 791, 793 (11th

Cir. 2017) (affirming lower court’s dismissal of plaintiff’s breach of contract claim

as time-barred, as plaintiff cited “no law indicating that the continuing violation

doctrine is applicable to Georgia breach of contract claims”); see also Kapordelis

v. Gainesville Surgery Ctr., L.P., No. 2:10-CV-69-RWS, 2011 WL 3652325, at *4

(N.D. Ga. Aug. 19, 2011). Plaintiff’s citation to Allapatah Servs. Inc. v. Exxon

Corp., 188 F.R.D. 667, 679 (S.D. Fla. 1999) is unavailing, as this case did not

apply Georgia law in its consideration of the “continuing breach doctrine,” but

generally acknowledged that some jurisdictions had adopted such a doctrine. Id.


5The Court notes that Defendant CitiMortgage is correct in pointing out that this fact about the
mortgage contract’s termination on December 15, 2014 was first presented in Plaintiff’s
Response. It was not alleged in the Complaint. The Court does not consider this fact for
purposes of resolving the current motions to dismiss, however, but includes it here merely to
reflect Plaintiff’s theory of recovery.


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at 679.    The Allapatah court went on to find that the “continuing breach

doctrine” did not toll the statute of limitations because it considered the contract

to be severable instead of continuous in nature. Id. at 680.

      Even setting aside the question about whether the continuing violation

doctrine applies under Georgia law, the standard for determining when Georgia’s

six-year statute of limitations for contracts begins to run is O.C.G.A. § 13-6-14,

which states:

      If a contract is entire, only one action may be maintained for a
      breach thereof; but, if it is severable or if the breaches occur at
      successive periods in an entire contract, an action will lie for each
      breach; but all the breaches occurring up to the commencement of
      the action must be included therein.

Georgia case law further clarifies this distinction:

      If the contract is found to be strictly divisible, the statute will run
      separately as to each payment or performance when it becomes due,
      either as an independent obligation or as a return for an installment
      of the counter-performance . . . . [O.C.G.A. §13-1-8] provides that a
      contract may either be entire or severable. In the former the whole
      contract stands or falls together; in the latter, the failure of a distinct
      part does not void the remainder. The character of the contract in
      such case is determined by the intention of the parties. Numerous
      cases have stated that the criterion for determining whether the
      contract is entire or severable under this rule is to be found in the
      question of whether the whole quantity, service, or thing, all as a
      whole, is of the essence of the contract, and if it appear that the
      contract was to take the whole or none, then the contract would be
      entire, but, on the other hand, if the quantity, service, or thing is to
      be accepted by successive performances, then the contract may
      properly be held to be severable.

Carswell v. Oconee Reg’l Med. Ctr., Inc., 605 S.E.2d 879, 881 (Ga. Ct. App. 2004)

(citing Piedmont Life Ins. Co. v. Bell, 119 S.E.2d 63, 72 (Ga. Ct. App. 1961))



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(emphasis added).     In other words, a contract is not “entire” where the

“contractual consideration at issue is not a single sum certain, but an indefinite

total amount which [is] payable in installments.” Carswell, 605 S.E.2d at 881;

see also Baker v. Brannen/Goddard Co., 559 S.E.2d 450, 453–54 (Ga. 2002).

      Here, the mortgage contract for the Welbron House states that Plaintiff, as

the borrower, agreed to pay the lender (at the time, Bayrock) $108,300 in

principal plus interest. The interest rate of 10.278% was charged on the unpaid

principal “until the full amount of Principal has been paid.” (CitiMortgage’s

Motion to Dismiss, Doc. 20-1, Ex. A.)       The mortgage contract is therefore

divisible: Plaintiff agreed to make installment payments that varied depending on

the interest rate and how much unpaid principal remained. Accordingly, the

statute of limitations begins to run separately as to each breach that occurred –

i.e., as to each improper accounting that Defendants applied under the contract.

      Plaintiff alleges that Defendants improperly applied her loan payments

starting around October 2007 and through the point that she filed for bankruptcy

on December 23, 2009. (Complaint, Doc. 1 ¶¶ 12-18.) She does not allege,

however, that Defendants continued to improperly apply her loan payments after

she filed for bankruptcy. Rather, she alleges that “her creditors were subject to

the automatic stay of the bankruptcy code.” (Id. ¶ 26.) Thus, even when liberally

construing the Complaint as alleging successive breaches up through December

23, 2009, the six-year statute of limitations would run from that date and would




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bar Plaintiff’s claim filed on February 3, 2017. 6 The continuing violation doctrine

does not save Plaintiff’s breach of contract claim from dismissal.

       Additionally, Plaintiff argues that the limitations period does not begin to

run “until the latest element of damages was suffered on August 2016 with the

loss of the Kelley Chapel property.” (Plaintiff’s Response, Doc. 16 at 9.) Georgia

law is clear, however, that in contract actions, “[t]he time of breach controls, not

the time the damages result or are discovered.” Dillon v. Reid, 717 S.E.2d 542,

547 (Ga. Ct. App. 2011) (citing Gamble v. Lovett Sch., 350 S.E.2d 311, 312 (Ga. Ct.

App. 1986)); see also Bridge Capital Inv’rs II v. Small, 185 Fed. App’x 836, 838

(11th Cir. 2006) (applying Georgia law). “[T]he true test to determine when the

cause of action accrued is to ascertain the time when the plaintiff could first have

maintained his action to a successful result,” and “[a]ctual damage is not

essential [at that time], [since] the right of action has its inception upon the

breach of duty.” Gamble, 350 S.E.2d at 313 (internal quotations omitted).

       As discussed above, the Complaint alleges that Defendants’ breach (i.e.,

misapplication of Plaintiff’s loan payments) may have occurred as late as


6 In her Response, Plaintiff argues that she is “not yet able to specify every particular date of
breach for misapplication of funds paid towards the mortgage” in the absence of full discovery.
(Plaintiff’s Response, Doc. 16 at 6.) This argument implies that Plaintiff will be able to show
Defendants misapplied her funds after December 23, 2009. But Plaintiff does not allege facts in
her Complaint that Defendants continued to misapply her loan payments after she filed for
bankruptcy on December 23, 2009, or that her loan payments were higher after this point
because of Defendants’ prior crediting errors. The Court anticipates that Plaintiff and her
counsel had access to Plaintiff’s own financial records to be able to make such allegations. But
she failed to do so, and she cannot make new allegations for the first time in her Response. See,
e.g., Burgess v. Religious Tech. Ctr., Inc., 600 F. App’x 657, 665 (11th Cir. 2015) (“We repeatedly
have held that plaintiffs cannot amend their complaint through a response to a motion to
dismiss.”).


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December 23, 2009, but not afterward, so the limitations period would still begin

to run from that date. Moreover, to the extent Plaintiff argues she did not

discover the alleged breach of contract until after the Kelley Chapel House

foreclosure, this argument also does not toll the limitations period. There is no

“discovery rule” applicable to Georgia breach of contract claims as may be

applicable to certain tort claims. Moore v. Dep’t of Human Res., 469 S.E.2d 511,

512 (Ga. Ct. App. 1996).

      Accordingly, Plaintiff’s breach of contract claim is time-barred.

      B. Statute of Limitations for Plaintiff’s Tort Claims

      Plaintiff alleges two tort claims against Defendants: negligence and

tortious interference with property rights.     She alleges negligence based on

Defendants’ duty to service Plaintiff’s loan with “reasonable care and attention”

and their breach of that duty “when they repeatedly informed her of her payment

defaults when none existed.” (Complaint, Doc. 1 ¶¶ 50-51.) As a direct result,

Plaintiff claims that she lost the Kelley Chapel House and suffered physical and

emotional distress. (Id. ¶ 54.) Additionally, she alleges tortious interference with

property rights based on Defendants’ breach of duty “when it created a situation

which required Plaintiff to file bankruptcy and set into action the foreseeable

results of that bankruptcy.” (Id. ¶ 47.)

      Under Georgia law, the statute of limitations for personal injury is two

years, which would apply to Plaintiff’s allegations of physical and emotional

distress as part of her negligence claim. O.C.G.A. § 9-3-33. The statute of


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limitations for trespass upon property or for injury to personal property is four

years, which would apply to Plaintiff’s allegations of economic harm as part of her

negligence and tortious interference claims. O.C.G.A. §§ 9-3-30, 9-3-31. Plaintiff

runs into the same problems with her two tort claims as with her breach of

contract claim. Even if the continuing violation doctrine applied, 7 Plaintiff does

not allege facts that Defendants continued to breach the duties they owed to her

beyond December 23, 2009 – the last date on which Defendants allegedly failed

to exercise proper care when accounting for her loan payments before she filed

for bankruptcy. She merely alleges the ongoing consequences of Defendants’

earlier actions. Thus, to satisfy the four-year limitations period – the longest

time-frame available to bring her tort claims – she would have had to file her

Complaint no later than December 23, 2013, which she did not do.

       Plaintiff’s tort claims are therefore time-barred as well.

       C. Leave to Amend

       In her Response, Plaintiff seeks leave to amend the Complaint in the event

the Court finds it deficient for some reason. (Complaint, Doc. 1 ¶ 3-4.) However,

the Court finds that granting leave to amend in this case would be futile. Hall v.

United Ins. Co. of America, 367 F.3d 1255, 1262 (11th Cir. 2004) (“[A] district

court may properly deny leave to amend the complaint under Rule 15(a) when

such amendment would be futile.”)               Plaintiff has not alleged or offered any

7Furthermore, to the extent Plaintiff seeks to recover for injury to her property rights, Georgia
courts have held that “[n]either the discovery rule nor the continuing tort theory is applicable to
actions involving only damage to real property.” Mitchell v. Contractors Specialty Supply, Inc.,
544 S.E.2d 533, 535 (Ga. Ct. App. 2001).


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additional facts that would save her claims from being time-barred as discussed

above. Consequently, the Court denies Plaintiff’s request for leave to amend.

IV.   CONCLUSION

      For the foregoing reasons, the Court GRANTS Defendants’ Motions to

Dismiss [Docs. 13, 14]. The Clerk of Court is DIRECTED to close this case.

      IT IS SO ORDERED this 31st day of January, 2018.



                                     ___________________________________
                                     Amy Totenberg
                                     United States District Judge




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